                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA,                       )
                                                 )
                                                 )
 v.                                              )   No. 1:09-cr-123-TRM-SKL-11
                                                 )
                                                 )
 CRYSTAL MARIE HENLEY                            )


                               MEMORANDUM AND ORDER

        CRYSTAL MARIE HENLEY (“Defendant”) appeared for a hearing on April 21, 2017,
 in accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for a
 Warrant or Summons for an Offender Under Supervision (“Petition”).

         Defendant was placed under oath and informed of her constitutional rights. It was
 determined that Defendant wished to be represented by an attorney and she qualified for
 appointed counsel. Attorney Samuel Robinson, III was appointed to represent Defendant. It was
 also determined that Defendant had been provided with and reviewed with counsel a copy of the
 Petition.

          The Government moved that Defendant be detained without bail pending her revocation
 hearing before U.S. District Judge McDonough. Defendant waived her preliminary hearing but
 requested a detention hearing and time to prepare for said detention hearing. The U.S. Marshal
 shall transport Defendant to said hearing, which will be held before the undersigned on April 27,
 2017 at 2:00 p.m. Defendant shall be temporarily detained until her detention hearing as set
 forth in a separate order.

        SO ORDERED.

        ENTER.
                                             s/fâátÇ ^A _xx
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE




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